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     EXHIBIT 1
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                                  ASSIGNED TO THE HONORABLE G. HELEN
 2                                        HEARING DATE: JUNE 28, 2018, AT ·O
                                                          WITH ORAL ARG
 3

 4

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 6

 7

 8
                         SUPERIOR COURT OF THE STATE OF WASHINGTON
 9                                   FOR PIERCE COUNTY

10   R.O. and K.M.,                                    NO. 17-2-04897-1
11
                            Plaintiffs,                .Ee• IF! l,Sl!D REVISED]
12

13          V.                                         COMBINED ORDER GRANTING
                                                       PLAINTIFFS' MOTION TO COMPEL,
14   MEDALIST HOLDINGS, INC., et al.,                  PLAINTIFFS' MOTION FOR
                                                       SANCTIONS, DAVIS WRIGHT
15
                                                       TREMAINE'S NOTICE OF INTENT TO
                            Defendants.
16                                                     WITHDRAW, AND NOTICE OF
                                                       LODGING OF IN CAMERA
17                                                     DECLARATION AND MOTION TO
                                                       SEAL
18
            THESE MATTERS came before the Court on (1) Plaintiffs' Motion to Compel
19

20   Compliance with Court's Order and Motion to Preserve Evidence, (2) Plaintiffs' Motion for

21   Sanctions Against Backpage Defendants, (3) the Notice of Intent to Withdraw filed by Davis

22   Wright Tremaine, and (4) Notice of Lodging of In Camera Declaration and Motion to Seal

23   filed by Davis Wright Tremaine. The Court heard oral argument from the parties, reviewed

24   the existing record, and reviewed the materials submitted by the parties, including the
25   following:
26
     II


     COMBINED ORDER GRANTING PLTFFS'                           PFAU COCHRAN VERTETIS AMALA PLLC
                                                                         403 Columbia St. Suite 500
     MOT TO COMPEL, MOT FOR SANCTIONS,                                    Seattle, Washington 98104
     NOTICE OF WITHDRAWAL, & MOT                                 Phone: (206) 462-4334 Fax: (206) 623-3624
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 2   Plaintiffs' Motion to Compel Compliance with Court's Order and Motion to Preserve
     Evidence
 3
             (1) Plaintiffs' Motion to Compel Compliance with Court's Order and Motion to
 4
                 Preserve Evidence, including the Declaration of Michael T. Pfau submitted in
 5
                 support thereof;

 6           (2) Defendants' Opposition to Plaintiffs' Motion to Compel Compliance with Court's
                 Order and Motion to Preserve Evidence, including the Declaration of Eric Stahl
 7               submitted in support thereof;

 8           (3) Plaintiffs' Reply in Support of Plaintiffs' Motion to Compel Compliance with
                 Court's Order and Motion to Preserve Evidence, including the Declaration of
 9
                 Michael T. Pfau submitted in support thereof;
10
             (4) Supplemental Declaration of Michael T. Pfau in Support of Plaintiffs' Motion to
11               Compel Compliance with Court's Order and Motion to Preserve Evidence; and

12

13

14
     Plaintiffs' Motion for Sanctions Against Backpage Defendants
15
             (1) Plaintiffs' Motion for Sanctions Against Backpage Defendants, including the
16               Declaration of Michael T. Pfau submitted in support thereof;
17
             (2) Defendants' Request for Extension and Opposition to Plaintiffs' Motion for
18
                 Sanctions, including the Declaration of Eric M. Stahl submitted in support thereof;

19           (3) Plaintiffs' Reply in Support of Plaintiffs' Motion for Sanctions and Plaintiffs'
                 Opposition to Defendants' Motion for Extension, including the Declaration of
20               Michael T. Pfau submitted in support thereof; and
21

22

23

24   Notice of Intent to Withdraw Filed by Davis Wright Tremaine and Notice of Lodging of
     In Camera Declaration and Motion to Seal filed by Davis Wright Tremaine
25
             (1) Notice oflntent to Withdraw filed by Davis Wright Tremaine LLP;
26
             (2) Supplement to Notice oflntent to Withdraw filed by Davis Wright Tremaine LLP;

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 2            (3) Plaintiffs' Objections to Backpage Defendants' Counsel's Notice of Intent to
                  Withdraw;
 3
              (4) Notice of Lodging of In Camera Declaration and Motion to Seal filed by Davis
 4
                  Wright Tremaine, LLP, as well as the documents that Davis Wright Tremaine filed
 5                with the Court for in camera review;

 6            (5) The Declaration of James C. Grant Regarding Davis Wright Tremaine's Notice of
                  Intent to Withdraw;
 7
              (6) Plaintiffs' Opposition to the Notice of Lodging of In Camera Declaration and
 8
                  Motion to Seal filed by Davis Wright Tremaine, including the Declaration of Jason
 9                P. Amala submitted in support thereof; and

10

11

12            The Court has also considered the following materials regarding the contents and

13   presentation of this Order:
14
              (1) Medalist Defendants' Objections to Plaintiffs' Proposed Combined Order;
15
              (2) Plaintiffs' Response to Medalist Defendants' Objections to Plaintiffs' Proposed
16                Combined Order; and
17

18

19            Based on the Court's review of the foregoing and the existing record, and for the
20
     reasons the Court articulated at the hearing in open court on May 23, 2018, 1 for the reasons
21
     stated below, and for the reasons stated in Plaintiffs' briefing, the Court enters the following
22
     findings and conclusions. The Court adopts its findings and conclusions from that hearing as
23
     if fully articulated in this written order, which is intended to memorialize and supplement the
24
     Court's findings and conclusions.
25

26
     1
       A copy of the Verbatim Transcript of Proceedings from May 23, 2018, is attached hereto as Exhibit 1. The
     Court adopts its findings and conclusions from that hearing as if fully articulated in this written order, which is
     intended to memorialize and supplement the Court's findings and conclusions.
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 2
     Plaintiffs' Motion to Compel Compliance with Court's Order and Motion to Preserve
 3   Evidence
 4            Plaintiffs' Motion to Compel Compliance with Court's Order and Motion to Preserve

 5   Evidence is GRANTED as to the "Backpage Corporate Defendants,"2 and discovery
 6   sanctions are imposed, as set forth below, should those defendants fail to comply with this
 7
     Order. In support of this ruling, the Court makes the following findings and conclusions:
 8
              1.      On January 12, 2018, the Court entered the Order Granting Plaintiffs' Motion
 9
     to Compel Full and Complete Responses from Backpage Corporate Defendants with Regards
10
     to Discovery Requests Outlined in Appendix A ("January 12th Order").
11
              2.      The Backpage Corporate Defendants failed to comply with the January 12th
12
     Order or otherwise make reasonable efforts to substantially comply with the January 12th
13

14
     Order, including but not limited to the production of responsive documents on a rolling basis.

15   The limited documents that were produced by the Backpage Corporate Defendants did not

16   comprise the scope of relevant documents covered in the January 12th Order.

17           3.       The Backpage Corporate Defendants' failure to comply with the Court's
18   January 12th Order was willful and was not substantially justified under the circumstances.
19
     The claim by Davis Wright Tremaine that it could not comply with the Court's January 12th
20
     Order without. first. reviewing the entire set of responsive documents for privilege is
21
     unsupported. ,A,te e ds@ftse rJemonstrat@s (1) tHat fl'l:Hsh of th.e materials have air@~' l>eeR
22

23
     ~ieweel for })rivilege in the context of other similar litigation; and (2) '1lat Davis Wrighr                        '
     Ti:@maiae has vetted the docnmems for privilege, p@r }.4r, F@ff@r.
24

25
     2
26    Consistent with the January 12th Order, the "Backpage Corporate Defendants" include Medalist Holdings, Inc.;
     Leeward Holdings, LLC; Camarillo Holdings, LLC; Dartmoor Holdings, LLC; Backpage.com, LLC; UGC Tech
     Group CV; Website Technologies, LLC; Atlantische Bedrijven, CV; Amstel River Holdings, LLC; Lupine
     Holdings, LLC; Kickapoo River Investments, LLC; CF Holdings GP, LLC; and CF Acquisitions, LLC.
     COMBINED ORDER GRANTING PL TFFS'                                      PFAU COCHRAN VERTETIS AMALA PLLC
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 2
            4.      The Backpage Corporate Defendants' failure to comply with the Court's
 3
     January 12th Order has caused undue delay and has substantially prejudiced Plaintiffs' ability
 4
     to prepare for the trial scheduled to begin October 16, 2018.
 5
            5.      The Court has considered lesser sanctions than those set forth below, including
 6
     lesser monetary sanctions, but finds that lesser sanctions would not suffice in deterring these
 7
     defendants from continued noncompliance with the Court's prior Order.
 8

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            7.
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18
            Based on the foregoing, the Court hereby ORDERS as follows:
19
            1.      Within 60 days of this Order, the Backpage Corporate Defendants shall
20
     produce to Plaintiffs the approximately 1.2 million responsive documents identified by Eric
21

22   Stahl in his letter dated March 20, 2018, which was attached as Exhibit 2 to the Declaration of

23   Michael T. Pfau in Support of Plaintiffs' Motion to Compel Compliance with Court's Order

24   and Motion to Preserve Evidence.

25          2.     If the defendants fail to produce the approximately 1.2 million responsive
26   documents referenced above within 60 days of this Order, the defendants will be sanctioned in

     the amount of $1.00 per document for every 14 days of noncompliance with this Order.
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 2
             3.     Within 60 days of this Order, the Backpage Corporate Defendants shall
 3
     produce any remaining documents responsive to the January 12th Order that are in their
 4
     possession, which includes documents in the possession of Davis Wright Tremaine and other
 5
     legal counsel who represents any of these defendants.
 6
             4.     To the extent the defendants assert that                                       responsive
 7
                                                          attorney/client privil e or work product
 8

 9

10

11

12

13

14
                               the attorney/client :g
15
        Defendant Ferrer on April 5, 2018, or ecause such records were
16
             5.     To the extent additional records exist that defendants assert are subject to the
17
     attorney/client privilege or work product doctrine, defendants shall provide Plaintiffs with a
18
     privilege log that includes the basis for how the defendants defined their "control group" as to
19
     each withheld record. The log shall be sufficiently detailed so that Plaintiffs are able to
20
     determine whether the asserted privilege is valid as to each record, including whether any
21

22   privilege may have been waived based on who sent or received the record. The privilege log

23   shall also include the date of the record, the time of the record (where available), who

24   authored the record, who received the record, and a general description of the record. A

25   privilege log shall be produced contemporaneously with the records that are produced
26   pursuant to this Order.


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 2
             6.     Defendants and Davis Wright Tremaine shall secure and continue to preserve
 3
     all electronic evidence in their possession, including the two terabytes of data that Davis
 4
     Wright Tremaine previously identified as described in Plaintiffs' motion. Defendants and
 5

 6
     Davis Wright Tremaine shall also     duplic~Z-~~~~~fnld1:;-it in trust,                                      •

 7
     1i* RF srrd tJ Gs rt • with a neutral third party approved by the Court, within 60 days after
     this Order is entered. Unless the parties agree otherwise at the hearing on this Order, the
 8

 9   Court approves John Cooper of W AMS as the approved neutral third party. The purpose of

10   duplicating the data is to ensure that the Court's existing order can be honored, and in the

11   event the federal government desires to seize the data, a copy will remain available for this

12   litigation.
13           7.
14

15

16
     Plaintiffs' Motion for Sanctions Against Backpage Defendants
17
             Plaintiffs' Motion for Sanctions Against Backpage Defendants is GRANTED as to
18
     all defendants.    In support of this ruling, the Court makes the following findings and
19
     conclusions:
20
             1.     The CEO of defendant Backpage.com, defendant Carl Ferrer, recently pled
21

22   guilty to a range of crimes and admitted the following relevant facts:

23           In 2004, I co-founded the website www.Backpage.com ("Backpage"), along
             with M.L. [Michael Lacey] and J.L. [James Larkin]. Backpage eventually
24
             became the second-largest classified advertising in the world, during its 14
25           years of existence, has derived the great majority of its revenue from fees
             charged in return for publishing advertisements for 'adult' and 'escort'
26           services.



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 2           I have long been aware that the great majority of these advertisements
             are, in fact, advertisements for prostitution services (which are not
 3           protected by the First Amendment and which are illegal in 49 states and
             in much of Nevada). Acting with this knowledge, I conspired with other
 4           Backpage principals (including but not limited to M.L., J.L., S.S., D.H.,
             A.P., and J.V.) to find ways to knowingly facilitate state-law prostitution
 5
             crimes being committed by Backpage customers. For example, I worked
 6           with my co-conspirators to create 'moderation' processes through which
             Backpage would remove terms and pictures that were particula~ly
 7           indicative of prostitution and then publish a revised version of the ad.
             Such editing did not, of course, change the essential nature of the illegal
 8
             service being offered in the ad-it was merely intended to create a veneer of
 9
             deniability for Backpage. These editing practices were one component of
             an overall, company-wide culture and policy of concealing and refusing to
10           officially acknowledge the true nature of the services being offered in
             Backpage's 'escort' and 'adult' ads.
11
             In addition to conspiring to knowingly facilitate the state-law prostitution
12
             offenses being committed by BacRpage's customers, I also conspired with
13           other Backpage principals (including but not limited to M.L., J.L., S.S., D.H.,
             A.P., and J.V.) to engage in various money laundering offenses. Since 2004,
14           Backpage has earned hundreds of millions of dollars in revenues from
             publishing "escort" and "adult" ads. Over time, many banks credit card
15           companies, and other fmancial institutions refused to do business with
             Backpage due to the illegal nature of its business. In response, I worked with
16
             my co-conspirators to fmd ways to fool credit card companies into believing
17           Backpage-associated charges were being incurred on different websites, to
             route Backpage-related payments and proceeds through bank accounts held in
18           name of seemingly unconnected entities, . . . and to use cryptocurrency-
             processing companies ... for similar purposes.
19
             2.      Defendant Ferrer's plea agreement admits the existence of an overriding
20

21   conspiracy to facilitate illegal sex trafficking beginning in 2004 and persisting through March

22   2018. This timeframe covers when Plaintiffs allege they were marketed and sold for sex on
23   Backpage.com, and when the plaintiffs in the J.S. litigation allege they were marketed and sold
24
     for sex on Backpage.com. Defendant Ferrer's guilty plea contains admissions that are highly
25
     consistent with the allegations of Plaintiffs in this case, and with the allegations of the plaintiffs
26



     COMBINED ORDER GRANTING PLTFFS'                                 PFAU COCHRAN VERTETIS AMALA PLLC
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 2   in the J.S. litigation, yet the defendants in both cases expressly denied those allegations.                       ~
 3   ~ m i l also implicates all named defeadaa.ts as 00 eonspiratei;s.

 4                   .:fi:1c defendants have not provided any convincing evidence, including swum
             3.
 5
     testimony or atber evichmoe, to refute the s weffi statements m defendant Fen et 's guilty pie~
 6          .......,..--
     ~or ..,e !I,e sefcnJants rileei an /irifoer lH Ekis ease to refine :Plaintiff>' a)], gati ,m
 7
             4.      The evidence presented by Plaintiffs demonstrates that the Back.page Corporate
 8

 9
     Defendants collectively operated and owned the back.page.com website and have acted

10   collectively in all relevant respects throughout the course of this litigation, including but not

11   limited theirresponses to Plaintiffs' discovery requests.
12
             5.      Defendant Ferrer's guilty plea admits that "moderation processes" were
13
     implemented to remove terms and images indicative of prostitution in order to "create a veneer
14
     of deniability for Backpage." Defendant Ferrer further admits that the defendants engaged in
15
     "various money laundering offenses" in order to realize "hundreds of millions of dollars" in
16

17   revenue from the illegal conduct facilitated on the Backpage.com website.

18           6.      The above admissions by Defendant Ferrer are central to Plaintiffs' claims and
19   allegations against the defendants as set forth in the First Amended Complaint. Further, the
20
     admissions in Defendant Ferrer's guilty plea directly contradict the defendants' responses to
21
     several interrogatories, requests for admission, and requests for production propounded by
22
     Plaintiffs in this litigation as outlined in Plaintiffs' briefing.
23

24
             7.      Based on the foregoing, the Court finds that the defendants have engaged in pre-

25   litigation misconduct. Defendants have knowingly undertaken a pattern of misconduct over

26   several years to deny claims asserted by Plaintiffs and similarly situated plaintiffs in the JS.

     litigation, which Defendant Ferrer's plea agreement confirms were true.                       Accordingly, the
     COMBINED ORDER GRANTING PLTFFS'                                      PFAU COCHRAN VERTETIS AMALA PLLC
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 2    defendants' conduct in this litigation in responding to the claims and discovery requests

 3    propounded by Plaintiffs has not been grounded in fact.
 4
               8.      Based on the foregoing, the Court further finds that defendants have committed
 5
      procedural bad faith by engaging in vexatious conduct throughout this litigation designed to
 6
      necessitate undue delay and force Plaintiffs to incur significant costs in pursuing their claims.
 7
      For example, defendants' denials in response to Plaintiffs' discovery requests were untruthful
 8

 9    and submitted for the improper purpose causing unnecessary delay and increasing the costs of

10    litigation, as demonstrated by Defendant Ferrer's guilty plea.

11             9.      Defendants' misconduct and procedural bad faith has severely prejudiced
12
      Plaintiffs, causing undue delay and needlessly increasing the costs of litigation. Defendants
13
      misconduct and procedural bad faith has also wasted judicial resources.
14
               10.     The Court finds that sanctions are warranted in order to deter the defendants
15
      from engaging in future misconduct, to punish the defendants for the misconduct described
16

17    above, and to compensate Plaintiffs for the costs they were forced to incur as a result of the

18    misconduct. The Court has considered the punitive, compensatory, and educational impact of

19    the sanctions set forth below in light of the misconduct engaged in by the defendants. The
20
      Court has also considered the financial status of the defendants in fashioning the sanctions set
21
      forth below. ~~eeiH.eall~1, tbe Coui:t take~ 11ote of the report issued by the U.S. Senate's
22
      ~mcnt Snbcornmittee OH lftVestigatiens, whieh states iliat Baekpage.G-Qm.' s gross rev@HH11ts
23

24   ..w0r0 $135 millieH: as of 2014 atrd    rhe company's domestic ope1atioas 3,11ei:e purchased iu 2.Q.l..S.

25   ...fm$~2e milliU1T.'3~            ,

26

      3
        See STAFF REP. OF s. PERM. SUBCOMM. ON INVESTIG., 114TH CONG., BACKPAGE.COM'S KNOWING
      FACILITATION    OF  ONLINE   SEX   TRAFFICKING    (Comm.    Print        2017)         (available    at
      COMBINED ORDER GRANTING PLTFFS'                          PFAU COCHRAN VERTETIS 1\MALA PLLC
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 2           11.    The Court has considered whether alternative lesser sanctions would suffice,

 3   including lesser monetary sanctions than those set forth below. The Court concludes, however,

 4
     that the sanctions set forth below are the least severe sanctions necessary to fulfill the purposes
 5
     of sanctions underlying CR 11. The Court's conclusion is based on (1) the extent and duration
 6
     of defendants' bad-faith misconduct, which has spanned many years, (2) the serious prejudicial
 7
     effect suffered by Plaintiffs as a result of defendants' misconduct, which includes the significant
 8

 9   amount of time and resources they have spent pursuing discovery i0 19F0:ve aUegatig:es ~
                                                                                                                    '
10   BefeH:eafl.t Ferrer :BGW concedes jn bis guilt¥ plea,.time and reionrces tbat could have be0R speftt

11   feettsing 011 ~thc1 diseovety and ptepttri:ttg fer t.ria+, (3) the litigation costs the defendants'
12
     misconduct has caused Plaintiffs to incur along with the needless waste of judicial resources,
13
                                                                                  •
14
             12.
15

16

17

18           Based on the foregoing, the Court ORDERS as follows:

19           1.     The defendants are jointly sanctioned in the amount of $200,000.00
20
     ($100,000.00 per Plaintiff). This amount shall be paid to the trust account of Plaintiffs' counsel
21
     within 30 days of this Order.
22
            2.      Plaintiffs are awarded their reasonable attorney's fees and costs that were
23

24   necessitated by defendants' misconduct. Within 30 days of the entry of this Order, Plaintiffs

25

26
     https://www .hsgac.senate.gov/imo/media/doc/Backpage%20Report%202017.01.10%20FINAL.pdf, last visited
     June 15, 2018).

     COMBINED ORDER GRANTING PLTFFS'                                 PFAU COCHRAN VERTETIS AMALA PLLC
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 2   shall file a separate motion that requests the awarded attorney's fees and costs and shall special

 3   set the motion for a date approved by the Court.
 4
              3.
 5

 6

 7
     Notice of Intent to Withdraw Filed by Davis Wright Tremaine and Notice of Lodging of In
 8
     Camera Declaration and Motion to Seal filed by Davis Wright Tremaine
 9
             The Notice of Intent to Withdraw filed by Davis Wright Tremaine was timely objected
10
     to by Plaintiffs. Accordingly, withdrawal may be obtained only by order of the court pursuant
11
     to CR 71(c)(4).       The Notice of Intent to Withdraw pertains to twelve of the seventeen
12

13   defendants jointly represented by Davis Wright Tremaine in this litigation (collectively, the

14   tw.elve defendants are referred to herein as the "Backpage.com Defendants"). 4 Defense counsel

15   does not seek to withdraw from representing the five remaining Defendants (collectively, the
16
     five defendants are referred to herein as the "Medalist Defendants"). 5
17
             Based on the Court's in camera review of the supporting materials submitted by Davis
18
     Wright Tremaine, including the Grant Declaration, Davis Wright Tremaine's request to
19

     withdraw with respect to the Backpage.com Defendants is GRANTED, subject to the
20

21   conditions set forth in this Order. The Court further concludes that continued representation of

22   the Medalist Defendants by Davis Wright Tremaine is impermissible pursuant to the Rules of
23   Professional Conduct.       The Court hereby DISQUALIFIES Davis Wright Tremaine, Davis
24
     4
25     Namely, Defendants Carl Ferrer, Backpage.com, L.L.C., Dartmoor Holdings, L.L.C.,, IC Holdings, L.L.C.,
     UGC Tech Group C.V., Website Technologies, L.L.C., Atlantishe Bedrijven C.V., Amstel River Holdings,
     L.L.C., Lupine Holdings, L.L.C., Kickapoo River Investments, L.L.C., CF Holdings GP, L.L.C., and CF
26   Acquisitions, L.L.C. (collectively "Backpage.com Defendants").
     5
      Namely, Defendants Medalist Holdings, Inc., Leeward Holdings, L.L.C., Camarillo Holdings, L.L.C., Michael
     Lacy, and James Larkin (collectively "Medalist Defendants").

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 2   Wright Tremaine's attorneys, Eric Stahl, and James Grant, from continuing to represent any

 3   parties in this litigation, including the Medalist Defendants, subject to the conditions set forth in
 4
     this Order. In support of this ruling, the Court makes the following findings:
 5
              1.      Defendant Carl Ferrer effectively revoked his consent allowing defense counsel
 6
     to jointly represent the multiple Defendants in this lawsuit because of material changes in
 7
     circumstances arising, in part, out of the federal criminal proceedings implicating several of the
 8

 9   Backpage.com and Medalist Defendants.               This lack of consent is expressly stated in Mr.

10   Ferrer's April 24, 2018 letter to the attorneys at Davis Wright Tremaine.

11            2.      The federal criminal proceedings are substantially related to the facts and claims
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     in this litigation . ..f~ , aami;lr:; J,pth pu11,eecli1'gs im1111Pe Che ceti..tfiil allegat10R Uiat derutidant:,o
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     .J;ht:oug,a vMieit:ts means sttefl as the :as@ "moderatim't" 13roe0ss@s • ..DefefteMtt Feffer's gHil,t;y plea.,
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17   Several of tbe Medalist Defetttltm.ts are canenrly drmged as co-defendants in tfle fedet!tl
18   eriBllllftl r,roeeedings, nmd@riHg thei1 intetests matetially adverse to *1e iftter@sts of ~ck l&err@f
19   -aHd, by extension, the Dad.page.com Defendtmts.
20
              3.      Defense counsel has jointly represented all defendants in numerous lawsuits
21
     acro.ss the country that are also substantially related to the facts and claims in this litigation and
22
     the federal criminal proceedings.           These past and current representations are relevantly
23

24   interconnected such that defense counsel is familiar with both the Backpage.com Defendants'

25   and Medalist Defendants' pattern of conduct as it relates to the claims in this litigation.

26            4.      Given the above, the Court concludes that there is a high possibility that Davis

     Wright Tremaine, Davis Wright Tremaine's attorneys, Eric Stahl, and James Grant will
     COMBINED ORDER GRANTING PLTFFS'                                        PFAU COCHRAN VERTETIS AMALA PLLC
                                                                                      403 Columbia St. Suite 500
     MOT TO COMPEL, MOT FOR SANCTIONS,                                                 Seattle, Washington 98104
     NOTICE OF WITHDRAWAL, & MOT                                              Phone: (206) 462-4334 Fax: (206) 623-3624
                                                                                        http://www.pcvalaw.com
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 2   encounter an impermissible conflict of interest jeopardizing the effective administration of

 3   justice if they continue to represent the Medalist Defendants in this litigation.

 4                  The Court further concludes that the Back.page.com Defendants' interest to
             5.
 5
     preserve the confidences previously disclosed to Davis Wright Tremaine, Davis Wright
 6
     Tremaine's attorneys, Eric Stahl, and James Grant combined with the high possibility that Davis
 7
     Wright Tremaine, Davis Wright Tremaine's attorneys, Eric Stahl, and James Grant                                will
 8

 9
     encounter conflict if allowed to continue representing the Medalist Defendants, outweighs the

10   Medalist Defendants' interest in maintaining defense counsel as their attorneys in this litigation.

11           6.
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            Based on the foregoing, the Court ORDERS as follows:
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             1.     Davis Wright Tremaine's request to withdraw is granted with respect to the
16

17   Back.page.com Defendants.

18          2.      Davis Wright Tremaine is disqualified from continuing to represent any other

19   parties in this litigation, including the Medalist Defendants.
20
            3.      Davis Wright Tremaine may continue to represent the Medalist Defendants only
21
     insofar as is necessary to secure the interests of the Medalist Defendants pursuant to the
22
     obligations set forth in the Rules of Professional Conduct. To this end, Davis Wright Tremaine
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24
     shall file a status report with the Court, served upon all parties, within 30 days of this Order and

25   every 30 days thereafter, detailing· their progress in securing the interests of Medalist

26   Defendants until such time as representation ceases.



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 2          4.     The Motion to Seal filed by Davis Wright Tremaine regarding the Declaration of

 3   James C. Grant:
 4
            [ ]   is granted in part. Pursuant to GR 15(c)(3) and applicable law, Davis Wright
 5
                  Tremaine is directed to submit a redacted version of the Grant Declaration for
 6
                  Court approval within 5 court days of this Order. Davis Wright Tremaine shall
 7
                  redact only those portions of the Grant Declaration subject to the attorney-client
 8

 9                privilege. Any proposed redactions shall not include unprivileged materials, such

10                as joint defense agreements or retainer agreements or any communications no

11                longer privileged because of the waiver executed by Defendant Ferrer on April 5,
12
                  2018. The Court will approve, reject, or modify the redactions and file the final
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                  redacted version of the Grant Declaration in the court record.                The original,
14
                  unredacted version of the Grant Declaration will remain under seal.
15

16
           P{'     is granted.

17          [ ]

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21
            DONE IN OPEN COURT t h i ~ y of June 2018.
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23

24                                       THE HONORABLE G. HELEN WHITENER
25
     PRESENTED BY:
26



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 3

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